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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                               )        Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al., 1                       )        Case No. 20-61065
                                                     )
                                                     )
                Debtors.                             )        (Joint Administration Requested)
                                                     )

             NOTICE OF DESIGNATION OF COMPLEX CHAPTER 11 CASE

         This bankruptcy case was filed on January 19, 2020. The Debtor believes that this case

qualifies as a Complex Chapter 11 Case because:

         X             The Debtor has total debt or total assets of more than $25 million,
                       excluding claims of insiders (as defined in 11 U.S.C. §101);
         X             There are more than 400 parties in interest in this case, excluding
                       former and current employees;
                       Claims against or interests in the Debtor are publicly traded; or
                       Other (Substantial explanation is required. Attach additional sheets
                       if necessary.); and
         X             The Debtor is not an individual; and
         X             The Debtor does not own single asset real estate, or it does own
                       single asset real estate but treatment as a Complex Chapter 11 Case
                       is justified (attach explanation explaining the circumstances).


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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.


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Date: January 19, 2020                          Respectfully submitted,
      Atlanta, Georgia
                                                KING & SPALDING LLP


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                                                Proposed Counsel for the Debtors in
                                                Possession




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